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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., DOMINION VOTING
SYSTEMS, INC., and DOMINION VOTING
SYSTEMS CORPORATION,

                Plaintiffs/Counter-Defendants,
                                                                Case No. 21-cv-445-CJN
        vs.

 MY PILLOW, INC., Defendant/Counter-Claimant.

 MICHAEL J. LINDELL, Defendant/Counter-
 Claimant/Third-Party Plaintiff,

        vs.

SMARTMATIC USA CORP., SMARTMATIC
INTERNATIONAL HOLDING B.V., SGO
CORPORATION LIMITED, and HAMILTON
PLACE STRATEGIES, LLC,

                Third-Party Defendants.



              SMARTMATIC DEFENDANTS’ MOTION FOR RULE 11 SANCTIONS

       Defendants SGO Corporation Limited, Smartmatic International Holding B.V., and

Smartmatic USA Corp. (collectively, “Smartmatic”), by their attorneys, hereby move this Court

pursuant to Fed. R. Civ. P. 11 for sanctions against Plaintiff Michael J. Lindell and his counsel,

as a result of Mr. Lindell’s refusal to dismiss Smartmatic as a defendant from his Third-Party

Complaint (“Complaint”), filed December 1, 2021. Smartmatic further requests that this Court:

(a) award Smartmatic the costs and reasonable attorney’s fees it has incurred defending itself and

moving for sanctions; (b) disgorge the fees Mr. Lindell’s counsel has earned by prosecuting this

bad faith, frivolous action and make them payable to the Court; and (c) impose any additional

sanctions the Court deems appropriate. In support of this motion, Smartmatic states as follows.
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         1.    Mr. Lindell and his counsel have flagrantly violated three provisions of Rule

11(b).

         2.    First, Mr. Lindell predicates his claims on allegations that: lack factual support;

are implausible; have been disproven by credible, publicly available evidence; and have been

rejected by other federal district courts. Any minimal inquiry into Mr. Lindell’s allegations

would have demonstrated that they lack evidentiary support and cannot possibly be proven in

violation of Fed. R. Civ. P. 11(b)(3).

         3.    Second, the Complaint alleges claims against Smartmatic for participating in a

civil conspiracy and for violating the Racketeer Influenced and Corrupt Organization Act

(“RICO”) and the First, Fifth, and Fourteenth Amendments under 42 U.S.C. §§ 1983, 1985(3).

Minimal research shows that none of these claims has any colorable basis in the law. They all

violate Fed. R. Civ. P. 11(b)(2).

         4.    Third, both in the Complaint and in his out-of-court statements, Mr. Lindell has

admitted that he filed this suit to amplify his political views. These admissions and the

surrounding circumstances establish that he filed this lawsuit for an improper purpose in

violation of Fed. R. Civ. P. 11(b)(1).

         5.    Sanctions are the only proper response for the mockery Mr. Lindell and his

counsel have made of Rule 11. Consistent with the precedent of this Circuit, appropriate

sanctions should include: (a) an award of the fees and costs Smartmatic expended defending

itself and bringing this motion; (b) disgorgement of the funds Mr. Lindell’s counsel has earned

prosecuting this case and payment of those funds to the Court; and (c) such other relief the Court

deems is just and proper.




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       6.     In compliance with Rule 11(c)(2), Smartmatic’s counsel served this motion and

supporting memorandum upon Mr. Lindell’s counsel via email and First-Class Mail on

December 10, 2021, at the email address and physical address on file with the Court. Smartmatic

also offered to meet and confer regarding Smartmatic’s request in accordance with the Local

Rules of this Court. Mr. Lindell and his counsel responded on December 31, 2021, refusing to

withdraw the Complaint.

       7.     The grounds for this motion are more fully set forth in the accompanying

Memorandum of Law in Support of the Smartmatic Defendants’ Motion for Sanctions. For the

reasons stated therein, Smartmatic’s Motion for Sanctions should be granted.

Dated: February 11, 2022

                                         /s/ J. Erik Connolly

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